Case: 1:18-cv-00573 Document #: 183 Filed: 12/11/24 Page 1 of 1 PageID #:1582

                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                Eastern Division

Janay E Garrick
                                      Plaintiff,
v.                                                        Case No.: 1:18−cv−00573
                                                          Honorable John F. Kness
Moody Bible Institute, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, December 11, 2024:


        MINUTE entry before the Honorable John F. Kness: In−person motion hearing
held 12/11/2024. As stated on the record, the joint motion for entry of discovery deadlines
[181] is granted. Enter scheduling order. A status hearing is set for 3/11/2025 at 9:30 A.M.
The parties are to use the following call−in number: 1−855−244−8681, Access Code:
2315 003 3696. The public and media representatives may have access to the hearing via
the same number. Audio recording of the hearing is not permitted; violations of this
prohibition may result in sanctions. Participants are directed to keep their device muted
when they are not speaking. The parties are given leave to file a motion or proposed
briefing schedule on summary judgment prior to the next status hearing. Mailed notice.
(exr, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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